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                                                                        EXHIBIT07


 1                     THE UNITED STATES DISTRICT COURT

 2                           FOR THE DISTRICT OF OREGON

 3                                MEDFORD DIVISION

 4

 5   ARNAUD PARIS,                         )
                                           )
 6                   Petitioner,           J   Case No. 1:22-cv-01593-MC
                                           )
 7                      v.                 )
                                           )   December 7, 2022, 2:51 PM
 8   HEIDI MARIE BROWN,                    )
                                           )
 9                   Respondent.           )
     _______________                       )
10

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13                                    COURT TRIAL

14                             EXCERPT OF PROCEEDINGS

15                 BEFORE THE HONORABLE MICHAEL J. MCSHANE

16                    UNITED STATES DISTRICT COURT JUDGE

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 l                                   APPEARANCES

 2

 3   FOR THE PETITIONER:
                                DAVID B. STARKS
 4                              McKinley Irvin PLLC
                                1501 4th Avenue
 5                              suite 1750
                                Seattle, WA 98101
 6

 7   FOR THE RESPONDENT:
                                KATELYN D. SKINNER
 8                              Buckley Law PC
                                5300 Meadows Road
 9                              Suite 200
                                Lake Oswego, OR 97035-8617
10

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15
16   COURT REPORTER:         Kendra A. Steppler, RPR, CRR
                             United States District Courthouse
17                           District of Oregon
                             405 E. 8th Avenue, Room 2100
18                           Eugene, OR 97401

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 1                        ***EXCERPT OF PROCEEDINGS***
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 3                THE COURT:     Can we start with wrongful removal?
 4   Because I'm still not hearing you talk about
 5                MS. SKINNER:     The -- our arguments
 6                THE COURT:     -- the underlying agreement
 7                MS. SKINNER:     The
 8                THE COURT:     -- by which the children left for the
 9   United States.     And, I agree, there are some credibility issues
10   with some of the explanations that don't make a lot of sense by
11   Mr. Paris.     But, I'll be honest, I'm not sure if the
12   explanation that your client gave about Exhibit 23 is
13   particularly credible.        I know she kept saying it's made out of
14   context.     But I've yet to see what other context there is,
15   especially in light of the fact that on October 7th, she filed

16   a petition totally revoking any interest in the
17   July 19th agreement.
18                MS. SKINNER:     Thank you, Your Honor.          And I'll
19   address both points.        As to the intent of Ms. Brown at the time
20   she entered into the July agreement, I think she testified,
21   credibly, that she negotiated that agreement for hours and
22   hours.     There was discussions back and fork about health
23   insurance and all of the conditions that were placed.                      She had
24   already started to do the work to put those things --
25                THE COURT:     Right.


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 1               MS. SKINNER:         in motion.      And if she had had a

 2   plan to not follow through with the July agreement, then why

 3   would she get her French visa renewed in September of 2022, or

 4   take the steps to get it renewed?

 5               THE COURT:     But what she told me is that she wanted
 6   to leave her options open, which tells me that she believed she

 7   had the unilateral ability to simply keep the children in the
 a   United States.     And she certainly has -- is attempting to do

 9   that by the October 7th filing.
10               MS. SKINNER:     And I'll address the October 7th filing

11   in just a moment with the testimony about keeping options open.

12   I think we need to look at that in light of the flip-flopping
13   that Mr. Paris had done at that point.             And I think her

14   credible testimony was, in discussions with her lawyer, it was

15   what do I do if he reneges on this again?                 What can I do?

16   What       could a plan be put into place if that happens?                  I need

17   something with security.
18           And what we don't have in evidence is any evidence that

19   show that she took -- and I'll get to the October 7th custody

20   pleading in just a moment -- so that aside, she took no steps
21   to renege on the July agreement.          And, in fact, the opposite is
22   true.     She took all of the steps to keep that agreement upheld

23   and in place.
24           There's no evidence to show that there was an appointment

25   scheduled with an Oregon lawyer for July 29th, plus six months,



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 1        so that she could go in there and get the petition filed.
 2        There was no petition for custody that was drafted up and ready
 3        to go so that on six months and a day, that that could be done.
 4        Because she didn't take any steps to breach the agreement.




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19             Now, Mr. Paris' counsel had much to say about Mr. Paris'
20        illness.     But I haven't heard any testimony or received -- I
21        didn't receive one piece of evidence brought into this court
22        about a single condition, symptom, or any impact that it had on
23        Mr. Paris' daily living, except that he takes some B12 vitamins
24        and goes and sees a doctor occasionally.
25             But, more importantly, the information about his disease


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 1                            CERT I F I CAT E
 2

 3                    Arnaud Paris v. Heidi Marie Brown
 4                           Case No. 1:22-cv-01593-MC
 5                              Court Trial Excerpt
 6                               December 7, 2022
 7

 a        I certify, by signing below, that the foregoing is a true
 9   and correct excerpt of the record, taken by stenographic means,
10   of the proceedings in the above-entitled cause.              A transcript
11   without an original signature, conformed signature, or
12   digitally signed signature is not certified.
13
14   /s/Kendra A. StepPler, RPR, CRR
     Official Court Reporter                 signature Date: July 31, 2023
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